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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION



ELIZABETH T. BASHAM,

                      Plaintiff,

v.                                                               3:22-cv-65
                                              Civil Action No. ___________________________
                                              Louisa County Circuit Court Case No. CL22-058

WAL-MART STORES EAST, LP,

                      Defendant.

                                    NOTICE OF REMOVAL

       Wal-Mart Stores East, LP (“Walmart”), by counsel, pursuant to 28 U.S.C. §§ 1441 and

1446, hereby files this Notice of Removal on the following grounds:

       1.      Plaintiff filed a Complaint in the Circuit Court of Louisa County on or about

March 3, 2022, seeking $750,000.00 in damages against Walmart. (Exhibit A). This is a

personal injury action in which Plaintiff claims to have been injured at a Walmart store in

Hanover County, Virginia on August 19, 2017, as a result of Walmart’s negligence.

       2.      Walmart was served through its registered agent on October 18, 2022, and timely

filed an Answer (Exhibit B) to Plaintiff’s Complaint on or about October 27, 2022.

       3.      On October 31, 2022, the Court entered an Order dismissing the Defendants who

were improperly named in the Complaint, “Wal-Mart Stores East, Inc.,” “Wal-Mart, Inc.,” and

“Wal-Mart” (Exhibit C). Thus, the only remaining Defendant is Wal-Mart Stores East, LP.

       4.      Plaintiff is a citizen of Virginia. Compl. ¶ 4.


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       5.      Wal-Mart Stores East, LP is a Delaware limited partnership with its principal

place of business in Bentonville, Arkansas.

                i.     Wal-Mart Stores East, LP, has two partners: Wal-Mart Stores East

               Management, LLC, and Wal-Mart Stores East Investment, LLC. Both are

               Delaware limited liability companies, with their principal place of business being

               in Bentonville at the time of filing this action and at the present time.

               ii.     The sole member of Wal-Mart Stores East Management, LLC is Wal-Mart

               Stores East, Inc., an Arkansas corporation with its principal place of business

               being in Bentonville, Arkansas at the time of filing this action and at the present

               time.

              iii.     The sole member of Wal-Mart Stores East Investment, LLC is Wal-Mart

               Stores East, Inc., an Arkansas corporation with its principal place of business being

               in Bentonville, Arkansas at the time of the filing of this action and at the present

               time.

       6.      This action involves a controversy wholly between citizens of different states.

There is complete diversity of citizenship.

       7.      This Court has original jurisdiction in this matter pursuant to 28 U.S.C. § 1332

(a), and the action may therefore be removed to this Court pursuant to 28 U.S.C. § 1441 (a).

Walmart desires to remove this action to this Court.

       8.      Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is filed within thirty (30)

days after Walmart was served with the Complaint.



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       WHEREFORE, Walmart, by counsel, respectfully requests that this action be removed

from the Circuit Court of Louisa County, Virginia, to this Court.



                                             WAL-MART STORES EAST, LP

                                             By:    s/Joseph M. Moore
                                                    Joseph M. Moore, Esq. (VSB No. 48591)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 3rd day of November, 2022, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will then send a notification of
such filing to the following:

Graven W. Craig (VSB No. 41367)
Rea T. “Torrey” Williams (VSB No. 84691)
CraigWilliams, PLC
P.O. Box 68 – 202 W. Main Street
Louisa, VA 23093
(540) 967-9900
(540) 967-3567 Facsimile
graven@callnow.law
Counsel for Plaintiff

       And I hereby certify that on this 3rd day of November, 2022, I caused a true copy of the
foregoing to be sent via U.S. mail to:

Hon. Patty Madison, Clerk
Louisa County Circuit Court
P.O. Box 37
100 W. Main Street
Louisa, VA 23093-0037


                                                     s/Joseph M. Moore
                                                     Joseph M. Moore, Esq. (VSB No. 48591)
                                                     McCandlish Holton, P.C.
                                                     Attorney for Defendant
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